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                                              PARTIES

       4.      Plaintiff, Michael E. Hylton (“Mr. Hylton”), is a natural adult person residing in

Williamsburg, Indiana, and is a “person” and “consumer” as those terms are defined and/or used

within the FDCPA and IDCSA.

       5.      Defendant, Retrieval-Masters Creditors Bureau, Inc., is a New York corporation in

the business of collecting consumer debts on behalf of others in the State of Indiana and throughout

the United States. As such, Defendant regularly uses the mails and/or telephone to collect, or

attempt to collect, delinquent consumer accounts.

       6.      Defendant does business as, inter alia, “American Medical Collection Agency” and

“American Medical Retrieval Masters.”

       7.      Neither Defendant nor its DBAs, as referenced above in paragraph 6, are registered

with the Indiana Secretary of State.

       8.      Upon information and belief, Defendant’s DBAs are not registered with any state,

including New York.

       9.      In its communications to consumers, Defendant identifies itself as a “debt collector.”

       10.     Defendant is a “debt collector” as that term is defined by § 1692a(6) of the FDCPA.

       11.     Defendant is a “supplier” as that term is defined by I.C. 24-5-0.5-2(a)(3) of the

IDCSA.

       12.     Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and/or insurers at all

times relevant to this action.




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                            FACTS SUPPORTING CAUSES OF ACTION

       13.     Due to his ongoing medical conditions, Mr. Hylton regularly seeks treatment from

medical providers and has accumulated numerous debts, some of which remain outstanding.

       14.     Mr. Hylton owes one such medical debt to Quest Diagnostics, for services it

rendered to him in or around May 2017 (the “Subject Debt”).

       15.     After going unpaid for some time, the Subject Debt was ultimately sold, assigned

and/or transferred to Defendant for collection.

       16.     On or around May 8, 2018, Mr. Hylton received a Phone Call from Defendant

attempting to collect the Subject Debt (the “Phone Call”).

       17.     During the Phone Call, Defendant’s agent referred to Defendant as “American

Medical Collection Agency” and/or “American Medical Retrieval Masters,” ultimately confusing

Mr. Hylton as to Defendant’s status/connection to the Subject Debt.

       18.     After a reasonable time to conduct discovery, Mr. Hylton believes he can prove that

all actions taken by Defendant as described in this complaint were taken willfully and/or with

knowledge that its actions were taken in violation of the law.

                                            DAMAGES

       19.     Mr. Hylton was misled by the Phone Call.

       20.     Mr. Hylton justifiably fears that, absent this Court’s intervention, Defendant will

continue to use unlawful and deceptive means in attempting to collect the Subject Debt from him.

       21.     Mr. Hylton justifiably fears that, absent this Court’s intervention, Defendant will

cause unwarranted harm to his credit and ultimately cause him other unwarranted economic harm.

       22.     As a result of Defendant’s conduct, Mr. Hylton was forced to hire counsel and his

damages therefore include reasonable attorneys’ fees incurred in prosecuting this claim.



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       23.     As a result of Defendant’s conduct, Mr. Hylton is entitled to statutory damages,

punitive damages and all other appropriate measures to punish and deter Defendant and other debt

collectors from engaging in the unlawful collection practices as described in this complaint.

                                   GROUNDS FOR RELIEF

                                        COUNT I
                VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                          15 U.S.C. §§ 1692e, e(10), e(14) and f

       24.     All prior paragraphs are incorporated into this count by reference.

       25.     The FDCPA states, in relevant part:

                   “A debt collector may not use any false, deceptive, or misleading
                   representation or means in connection with the collection of any
                   debt. Without limiting the general application of the foregoing,
                   the following conduct is in violation of this section: (10) The use
                   of any false representation or deceptive means to collect or attempt
                   to collect any debt or obtain information concerning a consumer;
                   and (14) The use of any business, company, or organization name
                   other than the true name of the debt collector’s business, company,
                   or organization.” 15 U.S.C. §§ 1692e, e(10) and e(14).

                   “A debt collector may not use unfair or unconscionable means to
                   collect or attempt to collect any debt.” 15 U.S.C. § 1692f.

       26.     Defendant violated 15 U.S.C. §§ 1692e, e(10), e(14) and f by using a name other

than Defendant’s registered name during the Phone Call. In doing so, Defendant used unfair,

deceptive and misleading means in connection with its collection efforts of the Subject Debt.

       27.     As an experienced debt collector, Defendant knows that, in communicating with a

consumer, it is required to be truthful, complete and accurate as to what it represents in such

communications, as to avoid deceiving or misleading the consumer.

       28.     As set forth in paragraphs 19 through 23 above, Plaintiff has been harmed and has

suffered damages as a result of Defendant’s unlawful collection practices as described herein.



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                                        COUNT II
               VIOLATIONS OF THE INDIANA DECEPTIVE CONSUMER SALES ACT
                              I.C. 24-5-0.5-3(a) and (b)(20)

       29.     All prior paragraphs are incorporated into this count by reference.

       30.     Defendant’s collection activity in connection with the Subject Debt constitutes a

“consumer transaction” as that term is defined by the IDCSA at I.C. 24-5-0.5-2(a)(1)(C).

       31.     The IDCSA states, in relevant part:

                   “A supplier may not commit an unfair, abusive, or deceptive act,
                   omission, or practice in connection with a consumer transaction.
                   Such an act, omission, or practice by a supplier is a violation of this
                   chapter whether it occurs before, during, or after the transaction. An
                   act, omission, or practice prohibited by this section includes both
                   implicit and explicit misrepresentations.” I.C. 24-5-0.5-3(a).

                   “Without limiting the scope of subsection (a), the following acts,
                   and the following representations as to the subject matter of a
                   consumer transaction, made orally, in writing, or by electronic
                   communication, by a supplier are deceptive acts: The violation by
                   a supplier of the federal Fair Debt Collection Practices Act (15
                   U.S.C. 1692 et seq.), including any rules or regulations issued under
                   the federal Fair Debt Collection Practices Act (15 U.S.C. 1692 et
                   seq.).” I.C. 24-5-0.5-3(b)(20).

                   “A person relying upon an uncured or incurable deceptive act may
                   bring an action for the damages actually suffered as a consumer as
                   a result of the deceptive act or five hundred dollars ($500),
                   whichever is greater. The court may increase damages for a willful
                   deceptive act in an amount that does not exceed the greater of: (1)
                   three (3) times the actual damages of the consumer suffering the
                   loss; or (2) one thousand dollars ($1,000).” I.C. 24-5-0.5-4(a)(1)(2).

       32.     Defendant violated the IDCSA, namely I.C. 24-5-0.5-3(a) and (b)(20), by engaging

in unfair, abusive, and deceptive conduct in its transactions with Plaintiff by, inter alia, using the

name of “American Medical Collection Agency” and/or “American Medical Retrieval Masters”

during the Phone Call despite such DBAs not being registered with any state authority, including

Indiana.



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         33.        Defendant intended that Plaintiff rely on its misrepresentations and/or deceptive

means in order to procure immediate payment of the Subject Debt. As such, Defendant committed

a “willful deceptive act” as that term is used and/or contemplated within I.C. 24-5-0.5-4(a)(1)(2).

         34.        As set forth in paragraphs 19 through 23 above, Plaintiff has been harmed and has

suffered damages as a result of Defendant’s unlawful collection practices.

         35.        Plaintiff is entitled to relief pursuant to I.C. 24-5-0.5-4(a)(1)(2).

         36.        Defendant’s actions as set forth in this complaint were malicious, willful and/or

undertaken with such reckless disregard of Plaintiff’s rights that malice may be inferred, subjecting

Defendant to liability for punitive damages under the IDCSA in such an amount to be proved at

trial.

                                          PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, Michael E. Hylton, respectfully requests that this Court enter

judgment in his favor as follows:

               a)    Awarding Plaintiff actual damages, in an amount to be determined at trial, as
                     provided under 15 U.S.C. § 1692k(a)(1);

               b)    Awarding Plaintiff statutory damages in the amount of $1,000.00, as provided
                     under 15 U.S.C. § 1692k(a)(2)(A);

               c)    Awarding Plaintiff damages, in an amount to be determined at trial, as provided
                     under I.C. 24-5-0.5-4(a)(1)(2);

               d)    Awarding Plaintiff the costs of this action and reasonable attorneys’ fees, as
                     provided under 15 U.S.C. § 1692k(a)(3) and/or I.C. 24-5-0.5-4(a); and

               e)    Awarding Plaintiff any other relief as this Court deems just and appropriate.




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DATED this 5th day of November, 2018.                 Respectfully Submitted,

                                                       /s/ Geoff B. McCarrell
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                                                      Counsel for Plaintiff




                                        JURY DEMAND

    Pursuant to FED. R. CIV. P. 38(b), Plaintiff demands a trial to a jury on all issues of fact.


                                                      /s/ Geoff B. McCarrell
                                                     Geoff B. McCarrell #0086427
                                                     CONSUMER LAW PARTNERS, LLC




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